  Case 19-00415 Doc 29 Filed 05/11/20 Entered 05/11/20 10:50:14 Desc Main
           Ronald R. Peterson, Document
                                 Trustee, et al. Page 1 of 2
           v. Renee Lewis, et al.                        $GY3URF1R 19-00415
                                 Plaintiff v Defendant


                                        CERTIFICATE OF SERVICE

      ,      Ariane        Holtschlag                   FHUWLI\WKDWVHUYLFHRIWKLVVXPPRQVDQGDFRS\RIWKH
FRPSODLQWZDVPDGH              5/4/2020                 E\

        ✔      0DLOVHUYLFH5HJXODUILUVWFODVV8QLWHG6WDWHVPDLOSRVWDJHIXOO\SUHSDLGDGGUHVVHG
               WR Kesner-Lewis Revocable Trust, dated April 2, 2012, c/o Matthew Kesner, Trustee, 4401 Braeburn Rd., San Diego, CA
                   92116
                   Kesner-Lewis Revocable Trust, dated April 2, 2012, c/o Renee Lewis, Trustee, 4401 Braeburn Rd., San Diego, CA 92116
                   cc: Zoran Balac, Blackacre Law Group LLC, via email at zbalac@blackacrelawyers.com


               3HUVRQDO6HUYLFH%\OHDYLQJWKHSURFHVVZLWKWKHGHIHQGDQWRUZLWKDQRIILFHURU
               DJHQWRIGHIHQGDQWDW



               5HVLGHQFH6HUYLFH%\OHDYLQJWKHSURFHVVZLWKWKHIROORZLQJDGXOWDW




        ✔      &HUWLILHG0DLO6HUYLFH%\VHQGLQJWKHSURFHVVE\FHUWLILHGPDLODGGUHVVHGWR
                    Kesner-Lewis Revocable Trust, dated April 2, 2012, c/o Matthew Kesner, Trustee, 4401 Braeburn Rd., San Diego, CA
                    92116
                    Kesner-Lewis Revocable Trust, dated April 2, 2012, c/o Renee Lewis, Trustee, 4401 Braeburn Rd., San Diego, CA 92116



               3XEOLFDWLRQ7KHGHIHQGDQWZDVVHUYHGDVIROORZV>'HVFULEHEULHIO\@



               6WDWH/DZ7KHGHIHQGDQWZDVVHUYHGSXUVXDQWWRWKHODZVRIWKH6WDWHRI
               DVIROORZV>'HVFULEHEULHIO\@



        ,IVHUYLFHZDVPDGHE\SHUVRQDOVHUYLFHE\UHVLGHQFHVHUYLFHRUSXUVXDQWWRVWDWHODZ,
IXUWKHUFHUWLI\WKDW,DPDQGDWDOOWLPHVGXULQJWKHVHUYLFHRISURFHVVZDVQRWOHVVWKDQ\HDUVRI
DJHDQGQRWDSDUW\WRWKHPDWWHUFRQFHUQLQJZKLFKVHUYLFHRISURFHVVZDVPDGH

       8QGHUSHQDOW\RISHUMXU\,GHFODUHWKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

'DWH           5/11/2020                                 6LJQDWXUH     /s/ Ariane Holtschlag
       3ULQW1DPH             Ariane Holtschlag
       %XVLQHVV$GGUHVV FactorLaw
                         105 W. Madison, Suite 1500
                         Chicago, IL 60602
             Case
            Case   19-00415 Doc
                 19-00415    Doc2829 Filed
                                       Filed 05/11/20 Entered
                                           05/04/20     Entered 05/11/20
                                                              05/04/20   10:50:14 Desc
                                                                       14:06:35    Desc  Main
                                                                                       Stamped
                                         Document      Page 2
                                          Summons Page 1 of 2 of 2

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 17−09308
              MACK INDUSTRIES, LTD
                                                                                                             Debtor
              Adversary Proceeding No. 19−00415
              RONALD R. PETERSON, AS CHAPTER 7 TRUSTEE FOR MACK INDUSTRIES, LTD.
              RONALD R. PETERSON, AS CHAPTER 7 TRUSTEE FOR OAK PARK AVENUE REALTY, LTD.
                                                                                                             Plaintiff
              v.
              KESNER−LEWIS REVOCABLE TRUST, DATED APRIL 2, 2012
              WALLABY II, LLC
                                                                                                             Defendant
                                                        ALIAS SUMMONS IN AN ADVERSARY PROCEEDING

             To: KESNER−LEWIS REVOCABLE TRUST, DATED APRIL 2, 2012
             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.
             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604
             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Ariane Holtschlag
                                                        105 W. Madison, Suite 1500
                                                        Chicago, IL 60602
             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 742                                      06/18/2020 at 10:45AM
                                                        Chicago IL 60604
             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.




                   Date Issued


                   05 / 04 / 2020

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
